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                   EXHIBIT 1
                                                                                                                   Case 1:25-cv-00637-PTG-IDD               Document 10-3       Filed 05/07/25          Page 2 of 3 PageID#

                                      DEPARTMENT OF DEFENSE EDUCATION ACTIVITY
                                                                                                            EXCELLENCE IN EDUCATION FOR EVERY STUDENT, EVERY DAY, EVERYWHERE
                                                                                                                                                                   177



                                           ## MILITARY COMMUNITIES                                                                                                     STUDENT ENROLLMENT
                                                   161 SCHOOLS (Includes Virtual School*)                                                                          67,166 (Includes Virtual School*)

                                                     DoDEA Americas
                                   A                 17 LOCATIONS / 50 SCHOOLS                            DoDEA WORLD-WIDE                  161                  3              9               11                                          7                                         2
                                                                                                                                            SCHOOLS            REGIONS      DISTRICTS          COUNTRIES                              STATES                                     TERRITORIES
                                                1    West Point 2             9    Fort Liberty 9
                                                2    Guantanamo Bay 1         10   Camp Lejeune 7
                                                3    Fort Buchanan 3          11   Fort Jackson 2
                                                     Air Sta�on Borinquen 1        Beaufort 2
                                                                                                                                             (A)                          (B)
                                                4                             12

                                                5    Fort Campbell 6          13   Fort Stewart 3
                                                                                                                                                                                                                (C)                                                                           (D)
                                                     Fort Knox 4                   Fort Moore 5
                                                                                                                                       AMERICAS                          EUROPE                                                                                                                                                                        STUDENT POPULATION
                                                6                             14

                                                7    Quan�co 2                15   Fort Novosel 1                                                                                                        PACIFIC                                                          VIRTUAL SCHOOL
                                                8    Dahlgren 1               16   Maxwell AFB 1
                                                                                                                                        19,974                           26,063                         21,129                                                                                  44                                                          BY REGION
2024-2025 DoDEA by the NUMBERS




                                                     DoDEA Europe
                                   B                 26 LOCATIONS / 64 SCHOOLS
                                                                                                                                        STUDENT POPULATION FOR DoDEA SCHOOLS REPRESENTS MILITARY-CONNECTED STUDENTS WHOSE PARENTS OR GUARDIANS SERVE IN THE BRANCHES
                                                1    Rota 2                   16   Ramstein 4
                                                2    Sevilla 1                17   Baumholder 2                                                OF THE UNITED STATES ARMED FORCES, WORK FOR THE DEPARTMENT OF DEFENSE AS A CIVILIAN EMPLOYEE OR OTHER SPECIAL CATEGORY.
                                                3    Livorno 1                18   Spangdahlem 3
                                                4    Naples 2                 19   Brussels 1
                                                5    Sigonella 2              20   Lakenheath 5
                                                6    Vicenza 3                21   Alconbury 2
                                                7    Aviano 2                 22   AFNORTH 2                                STUDENT% BY
                                                8    Garmisch 1               23   Kleine Brogel 1
                                                9    Hohenfels 2              24   SHAPE 3                                BRANCH / SERVICE
                                                10   Vilseck 2                25   Bahrain 2
                                                11   Grafenwoehr 3            26   Ankara 1
                                                12   Ansbach 2                                                                                                     ARMY                  AIR FORCE                           DOD CIV                                               NAVY                                          MARINE CORPS                   COAST GUARD
                                                13   Stu�gart 5                                                                                                     39%                     19%                                2%                                                  12%                                               10%                            1%
                                                14   Wiesbaden 4
                                                15   Kaiserslautern 6


                                                                                                                                                                                50%




                                                                                                                                                                                                WHITE
                                                     DoDEA Paciﬁc
                                   C




                                                                                                                                                                                                           HISPANIC/LATINO
                                                     17 LOCATIONS / 46 SCHOOLS




                                                                                                                                                                                                                                                BLACK/AFRICAN AMERICAN
                                            1



                                                1    Osan 2                   10   Anderson AFB 2
                                                                                                                                                                                40%




                                                                                                                                                                                                                                                                                    HAWAIIAN/PACIFIC ISLANDER
                                                2    Camp Walker/             11   Navy Hospital Guam 1
                                                     George-Daegu 2           12   Naval Base Guam 1
                                                     Camp Humphreys 4              Camp McTureous 1
                                                                                                                            FEMALE                      MALE
                                                3                             13




                                                                                                                                                                                                                              MULTIRACIAL
                                                     Sasebo 3
                                                                                                                                                                                30%




                                                                                                                                                                                                                                                                                                                                 AM INDIAN/AK NATIVE
                                                4                             14   Camp Kinser 1
                                                     Iwakuni 4
                                                                                                                                                        51%
                                                                                   Camp Lester 1
                                                                                                                             49%
                                                5                             15

                                                     Zama/Atsugi 3                 Camp Foster 3
                                                                                                                                                                                                                                                                                                                                                                     STUDENT
                                                6                             16




                                                                                                                                                                                                                                                                                                                NOT IDENTIFIED
                                                7    Yokota 4                 17   Kadena AB 7
                                                8    Yokosuka 4                                                                                                                 20%                                                                                                                                                                               POPULATION
                                                9    Misawa 2




                                                                                                                                                                                                                                                                         ASIAN
                                                                                                                                                                                10%
                                                     DoDEA Virtual
                                   D                 1 SCHOOL / VIRTUAL
                                                                                                                                                                                    0%
                                                                                                                                                                                               41% 26% 14% 10%                                                           6%          2%                         1%               <1%
                                 *NOTE: Region enrollment numbers include DoDEA students in the region a�ending full-�me DoDEA Virtual School program                                                                                                                                                                                                    DoDEA BY THE NUMBERS | NOVEMBER 2024
                                                                  Case 1:25-cv-00637-PTG-IDD                Document 10-3               Filed 05/07/25            Page 3 of 3 PageID#
                                                                                              NATIONAL ASSESSMENT
                                                                                                            178   OF
                   DoDEA EMPLOYEES                                                          EDUCATIONAL PROGRESS (NAEP)
                           11,454                                                         2024 AVERAGE SCORES FOR
  THIS IS THE NUMBER OF FULL-TIME EQUIVALENTS (FTEs).
                                                                                   STATE/JURISDICTION AND NATION (PUBLIC)                                                   DoDEA COLLEGE AND CAREER READY PROGRAMS ARE DESIGNED TO ENSURE ALL
                                                                                                                                                                            HIGH SCHOOL GRADUATES HAVE THE KNOWLEDGE, SKILLS, HABITS AND DISPOSITIONS
                                                                             In 2024, the average score of fourth-grade and eighth-grade students                           IN MULTIPLE SUBJECTS TO BE SUCCESSFUL IN THEIR FUTURE ENDEAVORS.
                                                                             in DoDEA for math and reading was higher than the average score for
                    HQ                                                       public school students in the na�on.                                                           DoDEA COLLEGE AND CAREER READY STANDARDS:
                                                       PACIFIC
                                                                               4                             8 
                    480                                                              th                                        th                                           • ESTABLISH CLEAR, CONSISTENT AND HIGH LEARNING GOALS AND ARE FOCUSED ON
                                                       2,768
                                                                                                                                                                              PREPARING STUDENTS FOR SUCCESS IN COLLEGE AND CAREERS.
                              Europe                   HQ                      GRADE                                       GRADE
          Paciﬁc                                                                                                                                                            • IN THE AREAS OF MATHEMATICS AND LITERACY, SET A FOUNDATION FOR EVEN
                               3,898                   480                                                                      MATH
          2,768
                                                                             300
                                                                                                                                                  READING
                                                                                                                                                                              GREATER STUDENT SUCCESS AND GROWTH.
                                                       EUROPE                                                                                                               • SET GRADE�BY�GRADE LEARNING EXPECTATIONS FOR STUDENTS IN GRADES K�12.
                                                       3,898                                                                      291
                                                                                      MATH                                                         282
                                                                                                                                         272                                • SUPPORT A COHESIVE EDUCATION FOR HIGHLY MOBILE MILITARY�CONNECTED
                                                       AMERICAS              250
                                                                                                        READING                                           257                 STUDENTS.
                                                                                          251
                   Americas                            4,308
                                                                                                237
                    4,308                                                                                234
                                                                             200
                                                                                                               214

                                                                                                                                                                             Math   Literacy   Science    Social Studies    Fine Arts   Career & Tech Ed World Language



 55
                                                                                                                                                                                        LEARN MORE AT: WWW.DODEA.EDU/COLLEGECAREERREADY
          DoDEA SCHOOLS RECOGNIZED                                           150




                                                                                                                                                                                                                                                                          DoDEA by the NUMBERS
          (1982 THROUGH 2024)
 SINCE 1982, FIFTY FIVE DoDEA SCHOOLS HAVE BEEN
                                                                             100
 RECOGNIZED AS BLUE RIBBON SCHOOLS BY THE U.S.
 DEPARTMENT OF EDUCATION. THE AWARD IS BASED
                                                                                                                                                                                                           DoDEA SCHOOL OPENINGS
 ON THEIR OVERALL ACADEMIC EXCELLENCE OR THEIR                                                                                                                                                                              2024-2025
 PROGRESS IN CLOSING ACHIEVEMENT GAPS AMONG                                   50
 STUDENT SUBGROUPS.
                                                                                                                                                                                DoDEA PACIFIC
 2024 BLUE RIBBON DoDEA SCHOOLS -                                                                                                                                               CFA YOKOSUKA
                                                                               0
 1� ALCONBURY ELEMENTARY SCHOOL �UNITED KINGDOM�
                                                                                                                                                                                YOKOSUKA PRIMARY SCHOOL
 2� ROBINSON BARRACKS ELEMENTARY SCHOOL �GERMANY�                              251    DoDEA 4TH GRADE MATH                    291    DoDEA 8TH GRADE MATH
 3� WEST POINT ELEMENTARY SCHOOL �NEW YORK, USA�
                                                                               237    NATIONAL AVERAGE                        272    NATIONAL AVERAGE                                                         YOKOSUKA PRIMARY SCHOOL

                                                                              DoDEA 4th grade math result is:                DoDEA 8th grade math result is:
                                                                              - lower than 0 states/jurisdic�ons             - lower than 0 states/jurisdic�ons
                                                                              - higher than 51 other states/jurisdic�ons     - higher than 51 other states/jurisdic�ons
                                                                              - not signiﬁcantly diﬀerent than 0 other       - not signiﬁcantly diﬀerent than 0 other
                                                                                 states/jurisdic�ons                            states/jurisdic�ons

                                                                               234    DoDEA 4TH GRADE READING                 282    DoDEA 8TH GRADE READING
                                                                               214    NATIONAL AVERAGE                        257    NATIONAL AVERAGE

                                                                              DoDEA 4th grade reading result is:            DoDEA 8th grade reading is:
                                                                              - lower than 0 states/jurisdic�ons            - lower than 0 states/jurisdic�ons
SINCE 2015, EIGHT DoDEA SCHOOLS HAVE BEEN RECOGNIZED AS GREEN RIBBON          - higher than 51 other states/jurisdic�ons    - higher than 51 other states/jurisdic�ons
SCHOOLS BY THE U.S. DEPARTMENT OF EDUCATION. THE AWARD IS BASED ON            - not signiﬁcantly diﬀerent than 0            - not signiﬁcantly diﬀerent than 0 other
EFFORTS TOWARDS 21ST CENTURY EXCELLENCE IN THREE ACHIEVEMENT AREAS:              states/jurisdic�ons                           states/jurisdic�ons

  1� REDUCED ENVIRONMENTAL IMPACTS AND COSTS                                   NOTE: The NAEP mathema�cs and reading scales range from 0 to 500. Sta�s�cal
                                                                               comparisons are calculated on the basis of unrounded scale scores or percentages. Read
  2� IMPROVED HEALTH AND WELLNESS, AND
                                                                               more about how to interpret NAEP results from the mathema�cs assessment at:
  3� EFFECTIVE ENVIRONMENTAL AND SUSTAINABILITY EDUCATION.
                                                                               h�ps://nces.ed.gov/na�onsreportcard/mathema�cs/interpret_results.aspx
THE MOST RECENT GREEN RIBBON DoDEA SCHOOL WINNER IS
HUMPHREYS CENTRAL ELEMENTARY SCHOOL IN USAG HUMPHREYS, KOREA.                  SOURCE: U.S. Department of Educa�on, Ins�tute of Educa�on Sciences, Na�onal Center
                                                                               for Educa�on Sta�s�cs, Na�onal Assessment of Educa�onal Progress (NAEP), various
                                                                               years, 2000-2019 Mathema�cs Assessments.


                                                                                                                                                                                                                           DEPARTMENT OF DEFENSE EDUCATION ACTIVITY


DoDEA BY THE NUMBERS | NOVEMBER 2024
